          Case 3:19-mj-05024-AGS Document 1 Filed 11/12/19 PageID.1 Page 1 of 16
                                                                                                                  flJ' ·<   "l
AO 106 (Rev. 04/ 10) Application for a Search Warrant                                                         ,: .....· ~: !i


                                       UNITED STATES DISTRICT C
                                                                      for the                             T NO~ ~
                                                         Southern District of California             c1_·.    .,, 's;; ,1::_' , . ·1·· f COURT
                                                                                                  SOUTHE.r-i·'~ D ~:· :,,c r 0"' CALIFORNIA
                                                                                                  BY                                        DE PUTY   ,/
              In the Matter of the Search of                            )
         (Briefly describe the property to be searched                  )
          or identify the person by name and address)

                 Black/Grey in color iPhone,
                                                                        )
                                                                        )
                                                                                    Case No.
                                                                                                    19MJ5024
            Cell Phone Number: (619) 971-6689                           )
                                                                        )

                                              APPLICATION FOR A SEARCH WARRANT
        I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
property to be search ed and give ifs location) :

  See Attachment A, incorporated herein.

located in the              Southern               District of              California             , there is now concealed (identify the
p erson or describe the property to be seized) :

  See Attachment B, incorporated herein .

          The basis for the search under Fed. R. Crim. P. 4l(c) is (check one or more):
                    ~ evidence of a crime;
                    ~ contraband, fruits of crime, or other items illegally possessed;
                    ~ property designed for use, intended for use, or used in committing a crime;
                   0 a person to be arrested or a person who is unlawfully restrained.

          The search is related to a violation of:
           Code Section                                                             Offense Description
       18USC1591                                    Sex Trafficking of Children
       18 USC 2422(b)                               Enticement of a Minor
       18 USC 2423(a)                               Transportation of a Minor
          The application is based on these facts:
        See Attached Affidavit of FBI Special Agent Jonathan Reynolds , incorporated herein.

           r'lf   Continued on the attached sheet.
           0 Delayed notice of _ _ days (give exact ending date if more than 30 days: _ _ _ _ _ ) is requested
             under 18 U.S.C. § 3103a, the basis of which is set forth on the attached she



                                                                                                  Applicant 's signature

                                                                                         Jonathan Reynolds , Special Agent FBI
                                                                                                  Printed name and title

Sworn to before me and signed in my presence.


Date       I\     Il 12--l J.Pf ~                                                                        -----
City and state: San Diego, California                                             Hon. Andrew G. Schopler, US Magistrate Judge
                                                                                                  Printed name and title
     Case 3:19-mj-05024-AGS Document 1 Filed 11/12/19 PageID.2 Page 2 of 16




                                ATTACHMENT A

                            Black/Grey in color iPhone,
                        Cell Phone Number: (619) 971-6689
                          (Referred to as Target Device)


Target Device is currently stored at the San Diego Human Trafficking Task Force, San
Diego, 9425 Chesapeake Drive, San Diego, CA 92123, in the Southern District of
California.
        Case 3:19-mj-05024-AGS Document 1 Filed 11/12/19 PageID.3 Page 3 of 16




                                    ATTACHMENT B
                                  ITEMS TO BE SEIZED

 Authorization to search the cellular telephones described in Attachment A includes the
search of disks, memory cards, deleted data, remnant data, slack space, and temporary or
permanent files contained on or in the cellular telephones. The seizure and search of the
cellular telephones will be conducted in accordance with the affidavit submitted in support
of the warrant.

 The evidence to be seized from the cellular telephones will be electronic records,
communications, and data such as emails, text messages, photographs, audio files, video,
telephone numbers, contact information, web browsing history, documents, data stored
within applications, and location data, for the period of July 1, 2019, up to and including
August 14, 2019:

   a.     tending to indicate efforts to recruit, entice, harbor, transport, provide, obtain, or
          maintain a person for the purposes of engaging in a commercial sex act;

   b.     tending to identify accounts, facilities, storage devices, and/or services-such as
          email addresses, IP addresses, and phone numbers-used to facilitate human
          trafficking;

   c.     tending to identify co-conspirators, criminal associates, or others involved in
          human trafficking;

   d.     tending to identify funding sources, bank accounts, and financing methods
          involved in human trafficking;

   e.     tending to show efforts to solicit commercial sex acts on websites including but
          not limited to backpage.com or craigslist.com;

   f.     tending to identify travel to or presence at locations used for commercial sex
          acts;

   g.     tending to identify the user of, or persons with control over or access to, the
          subject phone; and/or

   h.     tending to place in context, identify the creator or recipient of, or establish the
          time of creation or receipt of communications, records, or data involved in the
          activities described above.
      Case 3:19-mj-05024-AGS Document 1 Filed 11/12/19 PageID.4 Page 4 of 16




which are evidence of violations of Title 18, United States Code, Sections 1591,
2422(b), and 2423(a).

      The seizure and search of the cellular phones shall follow the procedures outlined in
the methodology section in the supporting affidavit. Deleted data, remnant data, slack
space, and temporary and permanent files on the cellular phones may be searched for the
evidence above.
               Case 3:19-mj-05024-AGS Document 1 Filed 11/12/19 PageID.5 Page 5 of 16




 1 II             AFFIDAVIT IN SUPPORT OF APPLICATION FOR SEARCH
 2 II                                         WARRANT
 3   11           I, Jonathan A. Reynolds, Special Agent with the Federal Bureau of
 4   11   Investigation, being duly sworn, hereby state as follows:
 5                                        INTRODUCTION
 6                1.    I make this affidavit in support of an application for a search warrant
 7   11   in furtherance of an investigation conducted by the San Diego Human Trafficking
 8   11   Task Force (SDHTTF) for the following electronic device: a Black/Grey in color
 9   11   Apple iPhone, Phone number 619-971-6689 (Target Device) as described in
10 II Attachment A, which was seized from Joseph PRICE following his arrest on
11 II August 14, 2019, and seize evidence of crimes, specifically violations of federal
12 II offenses under 18 U.S.C. §§ 1591, 2422, and 2423 , as described in Attachment B.
13 II             2.    Based on the information below, there is probable cause to believe
14        that a search of the Target Device will produce evidence of the aforementioned
15        crimes.
16                3.    The information set forth in this affidavit is based on my own personal
17   11   knowledge, knowledge obtained from other individuals during my participation in
18   11   this investigation, including other law enforcement officers, my review of
19   11   documents and computer records related to this investigation, communications
20   11   with others who have personal knowledge of the events and circumstances
21   11   described herein, and information gained through my training and experience.
22   11   Because this affidavit is submitted for the limited purpose of obtaining a search
23   11   warrant for the Target Device, it does not set forth each and every fact that I or
24   11   others have learned during the course of this investigation, but only contains those
25   11   facts believed to be necessary to establish probable cause.
26        II
27        II
       Case 3:19-mj-05024-AGS Document 1 Filed 11/12/19 PageID.6 Page 6 of 16




 1                           EXPERIENCE AND TRAINING
 2         4.     I am an investigative or law enforcement officer within the meaning
 3   of Title 18, United States Code, Section 2510(7); that is, an officer of the United
 4   States, who is empowered by law to conduct investigations of and to make arrests
 5   for offenses enumerated in Titles 18 and 21 of the United States Code.
 6         5.     I am a Special Agent ("SA") with the Federal Bureau of Investigation
 7   ("FBI"), United States Department of Justice. I have been employed by the FBI
 8   since March of 201 7, and I have participated in investigations involving violent
 9   crimes, bank robberies, human trafficking, child exploitation, organized crime,
10   drug trafficking, and money laundering activities. I also received twenty-one
11   weeks of training at the FBI Training Academy in Quantico, Virginia. During that
12   training, I received instruction regarding a wide variety of investigative techniques
13   that are commonly used in support of a wide range of the FBI' s investigative
14   priorities. The training included instruction regarding the use of sources, electronic
15   surveillance techniques, law enforcement tactics, search and seizure laws and
16   techniques, physical surveillance, forensic techniques, interviewing, and a variety
17   of other subjects. Currently, I am assigned to the FBI San Diego Headquarters,
18   Human Trafficking-1, in San Diego, California to work crimes against children,
19   specifically, the sexual exploitation of children to include various illicit
20   commercial sex activities.
21         6.     Prior to my employment with the FBI, I was employed as a Police
22   Officer with the Mount Pleasant Police Department in Charleston, South Carolina.
23   I graduated from the South Carolina Criminal Justice Academy in Columbia, South
24   Carolina in May 2013. During my four years as a Police Officer, I received training
25   in various forms of investigations to include child exploitation, narcotics, and gang
26   investigations. As a Police Officer and SWAT operator I assisted and participated
27

                                                2
       Case 3:19-mj-05024-AGS Document 1 Filed 11/12/19 PageID.7 Page 7 of 16




 1   in the execution of numerous search and arrest warrants, many involving narcotic
 2   and gang related offenses as well as child exploitation.
 3         7.     In October 2017, I was assigned to the East County Regional Gang
 4   Task Force ("ECRGTF"). The San Diego County Sheriffs Department appointed
 5   me an Associate Agent assigned to the Sheriffs Department Special Investigation
 6   Division and specifically assigned to the ECRGTF. During my time at the
 7   ECRGTF, I had personal contact with dozens of self-admitted or known gang
 8   members and their associates and have discussed their lifestyles, method of
 9   operations regarding violent and property crimes, organizational methods, and
10   their drug trafficking and drug distributing activities.
11         8.     Since August 2019 I have been assigned to the SDHTTF where I have
12   participated in investigations involving the exploitation of children for illicit
13   commercial sex activity, human trafficking, various illegal activity of criminal
14   gang members and have performed a variety of related investigative tasks. During
15   my career I have conducted a multitude of investigative activities including, but
16   not limited to:
17          a.     Supervising as a case agent/co-case agent investigations involving
     organized criminal street gangs, the trafficking of drugs, weapons, the laundering
18   of monetary instruments, the trafficking of human beings, and the exploitation of
19   children for illicit commercial sexual acts;

20         b.    Functioning as a surveillance agent and thereby observing and
21   recording movements of persons involved in criminal street gang activity and those
     suspected of committing violent crimes, exploitation of children for illicit
22   commercial sex activity, and trafficking in illegal drugs and weapons;
23
            c.     Interviewing witnesses, cooperating individuals, and informants
24   relative to the illegal activities conducted by organized gang members to include
     the exploitation of children for illicit commercial sex activity, narcotics sales,
25
     money laundering, drug trafficking, weapon sales and trafficking, commission of
26   violent acts, racketeering, intimidation, extortion, human trafficking, and
     environmental crimes;
27

                                                3
       Case 3:19-mj-05024-AGS Document 1 Filed 11/12/19 PageID.8 Page 8 of 16




 1
            d.   Participating in the tracing of monies and assets gained by criminal
 2   street gang members from the illegal commercial sexual activity, sale of drugs
 3   (laundering of monetary instruments) and weapons;

 4          e.    Monitoring and reviewing thousands of recorded jail calls as well as
 5   recorded telephone calls pursuant to Title III court orders in child exploitation,
     narcotics and gang-related cases as well as handled Confidential Human Sources
 6   with access to drug dealers, firearms dealers, gang members and various gang
 7   hierarchies; and

 8          f.     Participating in investigations involving illicit commercial sexual
     activity, purchases of controlled substances, purchases of weapons, the execution
 9
     of search and arrest warrants, surveillance in connection with criminal
10   investigations, and the interview of confidential sources.
11
           9.     My experience as an FBI Special Agent has included the investigation
12
     of cases involving the use of computers and the internet to commit crimes. I have
13
     received training and gained experience in interviewing and interrogation
14
     techniques, arrest procedures, search warrant applications, the execution of
15
     searches and seizures, computer evidence seizure and processing, and various other
16
     criminal laws and procedures. I have personally participated in the execution of
17
     search warrants involving the search and seizure of cellular telephones and other
18
     electronic devices.
19
           10.    Through my training, experience, and consultation with other law
20
     enforcement officers, I have learned that:
21
           a.     Individuals involved in illicit commercial sex maintain records,
22
     including electronic files, related to their illicit business on computers and
23   computer servers hosting internet applications such as electronic mail (email) and
     personal social networking web pages;
24
25         b.    Individuals involved in illicit commercial sex often solicit clients
     through electronic advertisements and other media, such as Craigslist,
26
     MegaPersonals, Skipthegames, and other social media sites accessed on cellular
27   telephones and computers;

                                                  4
       Case 3:19-mj-05024-AGS Document 1 Filed 11/12/19 PageID.9 Page 9 of 16




 1         c.    Individuals involved in illicit commercial sex maintain records of
     correspondence relating to client contact information as well as travel and lodging
 2
     arrangements involved in such illegal activity;
 3
            d.     Individuals involved in illicit commercial sex maintain documents
 4
     and files containing names of associates and/or coconspirators involved in
 5   prostitution;
 6
           e.     Individuals involved in illicit commercial sex maintain financial
 7   records, bank statements, money orders, money order receipts, and cash that are
     evidence of payments made in conjunction with prostitution;
 8
 9           f.    Individuals involved in illicit commercial sex use cellular telephones,
     tablet, desktop, removal hard drives and flash drives, and notebook computers and
10
     maintain these items on their person and/or in their residences and/or vehicles.
11   Individuals involved in illicit commercial sex use cellular telephones, tablet,
     notebook computers, and removable storage media to increase their mobility,
12
     coordinate illicit activities, and to provide pimps and prostitutes with instant access
13   to phone calls, voice messages, text messages, instant messaging (IM) and internet
     based correspondence. Individuals involved in illicit commercial sex will use
14
     multiple cellphones, tablets, notebook computers, and phone numbers in order to
15   maintain contact with other pimps, prostitutes, complicit businesses, and clients.
     These electronic devices contain wire and electronic data concerning telephonic
16
     contact records, text messages, and electronic mail messages with co-conspirators
17   and clients, as well as telephone books containing contact information for co-
     conspirators and clients. Individuals involved in illicit commercial sex also utilize
18
     digital cameras, cellular telephones, desktop and notebook computers with
19   photograph and video capabilities to take photographs and videos of themselves as
     well as other coconspirators for the purpose of electronic advertising and
20
     promotion of prostitution. Moreover, I know that digital evidence can be stored on
21   a variety of systems and storage devices including: hard disk drives, DVD ROMS,
     pagers, money chips, thumb drives, flash drives, and portable hard drives;
22
23         g.     Individuals involved in illicit commercial sex use social media sites
     like Facebook or Instagram to find clients and prostitutes. They use Facebook
24   messaging applications to communicate with prostitutes and customers to increase
25   their mobility and coordinate illicit activities. Individuals involved in illicit
     commercial sex will often use multiple social media accounts in order to maintain
26   contact with other pimps, prostitutes, complicit businesses, and clients. These
27   social media accounts contain electronic data concerning instant messaging,

                                                5
         Case 3:19-mj-05024-AGS Document 1 Filed 11/12/19 PageID.10 Page 10 of 16




 1   electronic mail and social media addresses of co-conspirators and clients, including
     contact information for co-conspirators and clients. Individuals involved in illicit
 2
     commercial sex also utilize social media to store and display, commonly known as
 3   posting, photographs, videos, and text of themselves as well as other co-
     conspirators for the purpose of electronic advertising and promotion of
 4
     prostitution;
 5
            h.     Individuals involved in illicit commercial sex often drive vehicles,
 6
     sometimes rented, leased, or registered in the names of other people, to transport
 7   themselves and coconspirators, inter and intra state, to pre-arranged meetings with
     clients to engage in prostitution. These same individuals often get other persons to
 8
     rent hotel rooms, pay for online postings or other items to avoid detection.
 9           11.   Based upon my experience and training, and the experience and
10   training of other agents with whom I have communicated, the evidence of illegal
11   activity described above in paragraphs "a" through "h" is maintained by
12   individuals involved in illicit commercial sex in property that they and their
13   associates live in and operate as well as on online accounts as well as email
14   accounts, which can be accessed on computers and cellular telephones.
15
16                   FACTS IN SUPPORT OF PROBABLE CAUSE
17           12.   On August 13, 2019, the mother of a minor female, aged 15 ("MF"),
18   reported to the San Diego Police Department (SDPD) that she had observed her
19   daughter in a vehicle driven by an unknown male near Euclid Avenue in San
20   Diego, California. Although she did not know the name of the man MF was with,
21   she recognized him as an adult male who had previously picked up MF at her home.
22   She further stated that she had seen Snapchat 1 photographs and videos of her
23   daughter with this same man.
24           13.   Later on August 13, 2019, MF's mother reported to the San Diego
25   Sheriffs Office (SDSO) that she was able to use Snapchat to geo-locate her
26   1
      Snapchat is a social media application, accessed via cellular telephone, whereby
27   users can share photos, videos, and text conversations.
                                               6
      Case 3:19-mj-05024-AGS Document 1 Filed 11/12/19 PageID.11 Page 11 of 16




 1   daughter to a home in El Cajon, California. Deputies from SDSO's Alpine Patrol
 2   Station searched law enforcement databases and found that the home was
 3   associated with PRICE, who was on parole for first degree burglary. MF's mother
 4   also provided deputies with the Snapchat photographs of MF. Due to the
 5   provocative nature of those photographs, Deputies believed that MF might be a
 6   victim of sex trafficking. SDSO deputies compared photographs of PRICE from
 7   his California parole records to the photographs provided by MF's mother and
 8   determined that they were the same individual. SDSO and the SDHTTF jointly
 9   initiated an investigation in order to recover MF.
10         14.    On August 14, 2019, MF was located and questioned. She stated that
11   PRICE had dropped her at the house where she was found. Using Snapchat, PRICE
12   was geo-located and arrested pursuant to California Penal Code 3056 pending
13   further investigation into potential violations of his parole. TFO A. Lewis assisted
14   in PRICE's arrest and removed an Apple iPhone from on his person. Incident to
15   the arrest, TFO Wells used the Emergency Call feature on the iPhone and obtained
16   the phone's cellular number of 619-971-6689 (the Target Device).
17         15.    Also on August 14, 2019, TFO B. McGilvray, using law enforcement
18   databases, located an advertisement posted on July 12, 2019, in San Diego,
19   California on the website "megapersonals.com" offering commercial sex with MF.
20   These advertisements depicted photographs of MF similar to those contained in
21   her Snapchat photographs and provided the telephone number 619-XXX-7750 as
22   a contact phone number.
23         16.    On August 14, 2019, MF was interviewed by TFO Wells and TFO M.
24   Stevens. MF confirmed that the telephone number 619-XXX-7750 belonged to her
25   until approximately August 7, 2019. She identified PRICE as her boyfriend and
26   stated they have been dating for one month. She claimed that they had been talking,
27

                                               7
      Case 3:19-mj-05024-AGS Document 1 Filed 11/12/19 PageID.12 Page 12 of 16




 1   text messaging, and "FaceTiming 1" for the past few months. MF stated that
 2   although she initially claimed to PRICE that she was seventeen years old; MF's
 3   mother told PRICE that MF was fifteen. According to MF, PRICE then had a
 4   conversation with MF about her being fifteen, and lying about her age, and
 5   ultimately told her it was ok.
 6          17.   TFO Wells asked MF about the megapersonals.com advertisement.
 7   MF stated that PRICE had asked her to "do this thing for me," and told her to post
 8   the advertisement to get money for him. According to MF, PRICE requested MF
 9   send him some photographs of herself. MF sent PRICE photographs of herself
10   using her cellular telephone, and when "johns" (purchasers of commercial sex)
11   would text MF in response to her advertisement, PRICE would conduct all text
12   message negotiations, including pricing, using a texting application "TextNow."
13   According to MF, PRICE would pick MF up from her mother's house in San Diego
14   County and would then drive her to meet with johns elsewhere in San Diego
15   County, often at their homes or in their cars. While she engaged in commercial sex
16   with the "johns," PRICE would park down the street and wait. In total, MF
17   estimated she had eleven "dates," or eleven instances in which she provided sex to
18   buyers. MF verified that on ten out of eleven of these "dates" she engaged in some
19   type of sex act. The sex buyers always handed her the money, and she would then
20   give the money to PRICE. In total, MF estimated she earned $7,000 from
21   prostitution. She stated that PRICE took all the money.
22         18.    MF provided to TFO Wells the names associated with her social
23   media accounts as well as those belonging to PRICE. In particular, she stated
24   PRICE's Snapchat screen name is "King Flow." MF stated that she communicates
25
26

27 11 1 Video telephone calls between iPhone cellular telephone users.
                                              8
      Case 3:19-mj-05024-AGS Document 1 Filed 11/12/19 PageID.13 Page 13 of 16




 1   with PRJCE through Instagram and Snapchat using direct messaging. MF also
 2   consented to the download of her cellular telephone.
 3          19.   On August 14, 2019, TFO Wells performed a logical download of
 4   MF's telephone. In reviewing the downloaded information, the Textnow texting
 5   application MF referred to in her statement was observed. The number associated
 6   with the Textnow application was 619-XXX-3900. Using this phone number,
 7   TFOs searched law enforcement databases and discovered multiple prostitution
 8   advertisements, posted to Megapersonals.com from July 21, 2019 to August 6,
 9   2019, that contained photographs ofMF, including some that used the same photos
10   of MF used in the other advertisement linked to her phone number 619-:XXX-775 0.
11          20.   On MF's phone, within her "chats," was a Textnow conversation with
12   the Target Device that began on July 27, 2019. The conversation began with the
13   message "king flow new number." Also within the "chats" on MF's phone, MF
14   directs a "john" to send her $40 to the account "$kingflowthee," and tells him it is
15   an account belonging to her uncle. However, based on the name match with
16   PRJCE's Snapchat Account, and the name match with the text message from the
17   Target Device, in addition to the statements provided by MF, I believe that the
18   "john" was being directed to send the money to PRJCE.
19         21.    Based on my training and experience, and consultation with law
20   enforcement agents who have training and experience investigating sex trafficking
21   offenses, I know that individuals will often utilize cellular devices to communicate
22   with customers and individuals involved in prostitution. Similarly, multiple social
23   media accounts are commonly used to make contact with minors and adults to
24   persuade and induce them into engaging in sex trafficking by communicating using
25   Snapchat as described above and are often accessed by these cellular devices.
26   Based on the facts of this case, I believe that evidence of sex trafficking of children,
27   coercion and enticement, and transportation and travel with intent to engage in
                                                 9
           Case 3:19-mj-05024-AGS Document 1 Filed 11/12/19 PageID.14 Page 14 of 16




 1        criminal sexual activity, in violation of 18 U.S.C. §§ 1591 , 2422, and 2423, will
 2        be found on the Target Device. Additionally, the search of the Target Device may
 3        also identify other individuals engaged in sex trafficking of children and adults,
 4        coercion and enticement, and transportation and travel with intent to engage in
 5        criminal sexual activity. I respectfully request permission to search the Target
 6        Device for items listed in Attachment B from July 1, 2019 up to and including
 7        August 14, 2019.
 8                                          METHODOLOGY
 9              22.    It is not possible to determine, merely by knowing the mobile
10   11   electronic device's make, model and serial number, the nature and types of services
11        to which the device is subscribed and the nature of the data stored on the device.
12        Mobile electronic devices, including cellular telephones and tablets, can be simple
13 II cellular telephones and text message devices, can include cameras, can serve as
14   11   personal digital assistants and have functions such as calendars and full address
15 II books and can be mini-computers allowing for electronic mail services, web
16   11   services and rudimentary word processing. An increasing number of cellular
17   11   service providers and installable software now allow for their subscribers and users
18   11   to access their device over the internet and remotely destroy all of the data
19 II contained on the device. For that reason, the device may only be powered in a
20   11   secure environment or, if possible, started in "flight mode" which disables access
21   11   to the network. Unlike typical computers, many mobile electronic devices do not
22   11   have hard drives or hard drive equivalents and store information in volatile
23   11   memory within the device or in memory cards inserted into the device. Current
24   11   technology provides some solutions for acquiring some of the data stored in some
25   11   mobile electronic device models using forensic hardware and software. Even if
26        some of the stored information on the device may be acquired forensically, not all
27        of the data subject to seizure may be so acquired. For devices that are not subject

                                                    10
          Case 3:19-mj-05024-AGS Document 1 Filed 11/12/19 PageID.15 Page 15 of 16




 1   11   to forensic data acquisition or that have potentially relevant data stored that is not
 2   11   subject to such acquisition, the examiner must inspect the device manually and
 3   11   record the process and the results using digital photography. This process is time
 4   11   and labor intensive and may take weeks or longer.
 5   11         23.    Following the issuance of this warrant, I will collect the Target
 6 II Device and subject it to analysis. All forensic analysis of the data contained within
 7   11   the Target Device and its memory cards will employ search protocols directed
 8        exclusively to the identification and extraction of data within the scope of this
 9        warrant.
10              24.    Based on the foregoing, identifying and extracting data subject to
11   11   seizure pursuant to this warrant may require a range of data analysis techniques,
12 II including manual review, and, consequently, may take weeks or months. The
13   11   personnel conducting the identification and extraction of data will complete the
14   11   analysis within ninety (90) days, absent further application to this court.
15 II                    GENUINE RISK OF DESTRUCTION OF DATA
16              25.    Based upon my experience and training, and the experience and
17   11   training of other law enforcement agents with whom I have communicated,
18   11   electronically stored data may be permanently deleted or modified by users
19   11   possessing basic computer skills. In this case, no genuine risk of destruction exists
20   11   as the property to be searched is already in the custody of law enforcement
21   11   personnel.
22 II                        PRIORATTEMPTSTOOBTAINDATA
23              26.    The United States has not attempted to obtain this data by other
24   11   means. A download of the data from the Target Device was done incident to
25   11   PRICE's arrest for violations of his California state parole; however, that download
26   11   has not been accessed by the undersigned nor is it a basis for my belief that
27   11   probable cause exists to forensically search the Target Device.

                                                    11
           Case 3:19-mj-05024-AGS Document 1 Filed 11/12/19 PageID.16 Page 16 of 16




 1                                          CONCLUSION
 2              27.    Based on the foregoing, I believe there is probable cause to believe
 3   11   items that constitute evidence, fruits, and instrumentalities of violations of federal
 4 II criminal law, namely, 18 U.S.C. §§ 1591, 2422, and 2423 as described in
 5   11   Attachment B, will be found at the properties to be searched, as provided in
 6   11   Attachment A.
 7
                                                          ~    han A. Reynolds
 8                                                        Special Agent
 9                                                        Federal Bureau of Investigation
10
11   11   Subscribed and sworn before me this       \Z,,il. day of November, 2019.
12
13
14
15                                                United States Magistrate Judge
16
17
18
19
20
21
22
23
24
25
26
27

                                                     12
